          Case 1:24-cv-02106-NRB                 Document 1        Filed 03/20/24   Page 1 of 12




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X

MICHAEL PATTERSON,

                                    Plaintiff,                       COMPLAINT

                  -against-

CITY OF NEW YORK, JAVAD VALAD,                                       PLAINTIFF DEMANDS
BRIAN HINTON, and MICHAEL BRENNAN,                                   A TRIAL BY JURY

                                    Defendants.

---------------------------------------------------------------X

         Plaintiff Michael Patterson, by his attorney Michael Lumar, as and for his Complaint,

hereby alleges upon information and belief as follows:

                                PARTIES, VENUE and JURISDICTION

         1.       At all times hereinafter mentioned, plaintiff Michael Patterson was an adult male

resident of New York County, in the State of New York.

         2.       At all relevant times hereinafter mentioned, defendant City of New York (“New

York City” or the “City”), was and is a municipal corporation duly organized and existing under

and by virtue of the laws of the State of New York and acts by and through its agencies,

employees and agents, including, but not limited to, the New York City Police Department

(“NYPD”) and its employees.

         3.       At all relevant times herein, defendant Brian Hinton (Tax 956739) was employed by

the City as a member of the NYPD. Hinton is sued in his individual capacity.

         4.       At all relevant times herein, defendant Javad Valad (Tax 937665) was employed by

the City as a member of the NYPD. Valad is sued in his individual capacity.

         5.       At all relevant times herein, defendant Michael Brennan was employed by the City
        Case 1:24-cv-02106-NRB          Document 1        Filed 03/20/24       Page 2 of 12




as a member of the NYPD. Brennan is sued in his individual capacity.

       6.     This Court has jurisdiction of this action pursuant to 28 U.S.C. §§ 1331, 1343 and

1367, and 42 U.S.C. §§ 1983 and 1988.

       7.     Venue is properly laid, pursuant to 28 U.S.C. Section 1391, et seq. in the Southern

District of New York, where the plaintiff and defendant City of New York reside, and where the

majority of the actions complained of herein occurred.

                                      RELEVANT FACTS

The September 2016 Charges

       8.     On September 9, 2016, plaintiff was lawfully present on West 144 Street in

Manhattan, New York.

       9.     The plaintiff was not engaging in any unlawful conduct, nor was he engaged in any

conduct that could reasonably be viewed as unlawful.

       10.    At this time, despite the absence of sufficient legal cause, plaintiff was seized and

forcibly handcuffed by the defendants or by members of the NYPD acting on behalf of the

individual defendants.

       11.    Plaintiff, in defendants’ custody, was thoroughly searched by NYPD officers at the

scene. The search of plaintiff did not yield any weapons or any other dangerous instruments.

       12.    Despite the continuing absence of probable cause for his arrest, plaintiff was

nonetheless taken into the defendants’ custody and transported to a local NYPD station house.

       13.    Once at the station house, plaintiff was subjected to a strip search which failed to

yield any contraband.

       14.    After a period of several hours, plaintiff, still in defendants’ custody, was taken to


                                                  2
          Case 1:24-cv-02106-NRB          Document 1       Filed 03/20/24       Page 3 of 12




Manhattan Central Booking.

         15.   While at Central Booking, plaintiff was again searched. Again no contraband or

evidence suggesting plaintiff was engaged in criminal conduct was found.

         16.   While in defendants’ custody, defendant Hinton, with the help and complicity of

the other defendants, completed arrest paperwork and executed a sworn statement in which he

falsely claimed that, at about 6:00 pm on the evening of September 9, 2016, he was in a patrol car

with defendant Brennan when they observed plaintiff recklessly driving a dirt bike on a public

roadway and that they saw plaintiff crash the bike into another vehicle.

         17.   According to Hinton, the plaintiff fled the scene and was not immediately

apprehended.

         18.   Hinton also alleged that plaintiff’s driver’s license had been suspended multiple

times.

         19.   Later that evening, Hinton and Brennan, now also accompanied by defendant

Valad, saw the plaintiff in the vicinity of where they claimed to have seen operating the dirt bike

and placed him under arrest.

         20.   Hinton’s allegations concerning the plaintiff’s operation of the dirt bike were false

in that the plaintiff had not driven the dirt bike in question and was not driving the dirt bike as

Hinton and Brennan alleged, and thus Hinton and Brennan’s claim that they had seen plaintiff

driving a dirt bike was fundamentally untrue.

         21.   Hinton forwarded these false allegations to the New York County District

Attorney’s Office (“DANY”), or caused them to be forwarded, in order to justify plaintiff’s arrest

and persuade the DANY to initiate plaintiff’s criminal prosecution.


                                                   3
         Case 1:24-cv-02106-NRB           Document 1        Filed 03/20/24      Page 4 of 12




       22.      Defendant Hinton knew at this time that his and his fellow officers’ claims and

allegations were materially false.

       23.      Based on defendants’ false allegations, the NYDA commenced plaintiff’s criminal

prosecution by filing a criminal complaint that charged the plaintiff with one count each of

reckless endangerment and aggravated unlicensed operation of a motor vehicle in the first degree.

The December 2016 Charges

       24.      On or about December 15, 2016, the DANY obtained an indictment of the

plaintiff on both the above charges and charges of criminal possession of a weapon in the second

and third degrees.

       25.      The weapons charges were based on defendant Valad’s statements to the DANY

that he had witnessed plaintiff discard an item in a garbage can just prior to his arrest on

September 9, 2016.

       26.      The defendants stated that they then found a gun in that garbage can, which they

claimed was the item Valad said he saw the plaintiff discard.

       27.      Plaintiff had not possessed the gun, either actively or constructively.

       28.      Plaintiff had not discarded or placed that gun in the garbage can, as Valad claimed

to have seen.

       29.      Plaintiff had not discarded or placed any item in the garbage can, as Valad claimed

to have seen.

       30.      Valad’s statements to the DANY, later repeated in court, to the effect that he had

seen the plaintiff discard or place an item in the garbage can were knowingly false.

       31.      The prosecution of the plaintiff on the two charges filed in September 2016


                                                   4
          Case 1:24-cv-02106-NRB          Document 1       Filed 03/20/24       Page 5 of 12




(aggravated unlicensed operation of a motor vehicle and reckless endangerment) and in December

(criminal possession of a weapon in the second and third degree) continued thereafter under

indictment number 5199/20165.

         32.   The defendants knew and understood that in making its charging decisions the

DANY was relying on the truthfulness and accuracy of their statements and testimony.

         33.   The defendants continued to repeat and reinforce their false statements about

having seen the plaintiff driving a dirt bike and discarding a weapon on September 9, 2016, for the

duration of the plaintiff’s criminal prosecution.

         34.   At no time did any of the defendants correct their false statements or otherwise

seek to undue the harm and injury inflicted by their initial lies and misrepresentations.

The Prosecution

         35.   Plaintiff was prosecuted from September 10, 2016, until his criminal trial in

Supreme Court, Criminal Term, New York County.

         36.   Prior to trial the plaintiff moved for a Frye hearing to test the prosecution’s

expected reliance on what is known as the Forensic Statistical Tool (“FST”).

         37.   The motion court denied the plaintiff’s motion.

         38.   On or about September 5, 2018, a jury was selected and plaintiff’s criminal trial

began.

         39.   On September 14, 2018, the jury returned a verdict convicting plaintiff of criminal

possession of a weapon in the second degree (count one) and acquitting him of the charge of

aggravated unlicensed operation of a motor vehicle (count three).

         40.   The jury was instructed that they should not return a verdict on criminal possession


                                                    5
        Case 1:24-cv-02106-NRB            Document 1        Filed 03/20/24      Page 6 of 12




of a weapon in the third degree (count two) if they found plaintiff guilty of count one. The jury

also did not reach a verdict on reckless endangerment (count four). On the DANY’s motion

counts two and four were then dismissed.

       41.     On October 5, 2018, plaintiff was sentenced to a determinate sentence of seven

years imprisonment, to be followed by five years of post-release supervision.

       42.     Plaintiff subsequently appealed his conviction to Appellate Division, First

Department.

       43.     On April 21, 2022, the appellate court ruled that the motion court’s denial of

plaintiff’s motion for a Frye hearing was error and that this error was not harmless. Accordingly,

the appellate court (i) remanded the case to the trial court for a Frye hearing, and otherwise (ii) held

the balance of the “[plaintiff’s] appeal in abeyance without reaching [his] remaining arguments”

pending the determination of the admissibility of the DNA evidence against the plaintiff. The

decision can be found at People v. Patterson, 204 A.D.3d 548, 548–49 (1st Dept 2022).

       44.     The DANY then moved to dismiss the conviction.

       45.     On or about August 15, 2022, the plaintiff, who had been transferred to City

custody from New York State custody, was released from custody with all charges dismissed.

       46.     Plaintiff spent more than four years in prison as a result of this prosecution and

conviction.

       47.     Although each of the defendants was aware that plaintiff’s prosecution was

grounded on their materially false statements, at no time did any of the individual defendants take

any steps to intervene in the plaintiff’s prosecution and imprisonment or to otherwise correct or

acknowledge ing the false statements they or their fellow officers had communicated to the


                                                   6
         Case 1:24-cv-02106-NRB              Document 1        Filed 03/20/24   Page 7 of 12




DANY, or to otherwise protect the plaintiff from any further harm caused by the defendants’

knowing violation of his constitutional rights.

       48.     At all times relevant herein, the individual defendants were acting within the scope

of their employment, and their acts were done in furtherance of the City of New York’s interests

and without legal justification or excuse.

                                   FIRST CAUSE OF ACTION

                        (§1983 Fabricated Evidence/Denial of Fair Trial)

       49.     Plaintiff repeats the preceding allegations as though stated fully herein.

       50.     The individual defendants willfully and intentionally subjected plaintiff to the denial

of his right to a fair trial by fabricating evidence and communicating said materially false

statements and/or materially misleading factual claims to the DANY, thereby causing plaintiff to

suffer a substantial and irreparable deprivation of liberty.

       51.     To the extent that any one of the individual defendants did not personally engage in

any of the aforementioned conduct, they witnessed this conduct or otherwise knew and

understood that such fabrications would be or had been communicated to prosecutors, had ample

opportunity to intervene to prevent it from occurring or continuing to occur, and failed to do so.

       52.     By so doing, the individual defendants directly subjected the plaintiff to the denial

of a fair trial through the use of fabricated evidence or through the failure to intervene in such

misconduct by their fellow officers, and aided and abetted in the violation of, plaintiff’s rights

under the Fourth, Sixth, and/or Fourteenth Amendments of the United States Constitution.

       53.     By reason thereof, the individual defendants have violated 42 U.S.C. §1983 and

caused plaintiff to suffer various injuries, including emotional and physical injuries, mental


                                                   7
        Case 1:24-cv-02106-NRB            Document 1        Filed 03/20/24      Page 8 of 12




anguish, the deprivation of his liberty, economic loss, and the loss of his constitutional rights.

                                 SECOND CAUSE OF ACTION

                              (§1983 Malicious Prosecution Claim)

       54.     Plaintiff repeats the preceding allegations as though stated fully herein.

       55.     The individual defendants willfully and intentionally caused the initiation of

plaintiff’s prosecution through the communication of materially false statements and/or materially

misleading factual claims to the DANY.

       56.     There was no probable cause for the prosecution of plaintiff for any of the charged

offenses.

       57.     The criminal prosecution was terminated in plaintiff’s favor.

       58.     The defendants acted with malice in bringing about and sustaining the plaintiff’s

prosecution.

       59.     To the extent that any one of the individual defendants did not personally engage in

any of the aforementioned conduct, they witnessed this conduct or otherwise knew and

understood that such fabrications would be or had been communicated to prosecutors, had ample

opportunity to intervene to prevent it from occurring or continuing to occur, and failed to do so.

       60.     By so doing, the individual defendants directly caused the plaintiff to be maliciously

prosecuted, or through their failure to intervene in such misconduct by their fellow officers, aided

and abetted in the violation of, plaintiff’s rights under the Fourth and/or Fourteenth Amendments

of the United States Constitution.

       61.     By reason thereof, the individual defendants have violated 42 U.S.C. §1983 and

caused plaintiff to suffer various injuries, including emotional and physical injuries, mental


                                                   8
         Case 1:24-cv-02106-NRB            Document 1        Filed 03/20/24      Page 9 of 12




anguish, the deprivation of his liberty, economic loss, and the loss of his constitutional rights.

                                   THIRD CAUSE OF ACTION

                                        (§1983 Monell Claim)

       62.     Plaintiff repeats the preceding allegations as though stated fully herein.

       63.     Defendant City of New York was responsible for ensuring that reasonable and

appropriate levels of supervision were in place within and/or over the NYPD to guard against

unconstitutional behavior and other misconduct.

       64.     Defendant had actual or constructive knowledge that there was inadequate

supervision over and/or within the NYPD with respect to its members' abuse of their authority,

abuse of arrest powers, fabrication of evidence, and other blatant violations of the United States

Constitution and the rules and regulations of the NYPD. Despite ample notice of inadequate

supervision, defendants took no steps to ensure that reasonable and appropriate levels of

supervision were put place to reasonably ensure that NYPD members engaged in police conduct

in a lawful and proper manner, including their use of their authority as law enforcement officers

with respect to the general public, including, and specifically, the plaintiff herein.

       65.     The defendant City of New York deliberately and intentionally chose not to take

action to correct the chronic, systemic, and institutional misuse and abuse of police authority by its

NYPD employees, and thereby deliberately and intentionally adopted, condoned, and otherwise

created through deliberate inaction and negligent supervision, an NYPD policy, practice, and

custom of utilizing illegal and impermissible searches, arrests, and detentions, and the

manufacturing of evidence, in the ordinary course of NYPD business in flagrant disregard of the

state and federal constitutions, as well as the Patrol Guide, up to and beyond the plaintiff's arrest.


                                                    9
        Case 1:24-cv-02106-NRB            Document 1        Filed 03/20/24      Page 10 of 12




       66.       The acts complained of herein are a direct and proximate result of the failure of the

City of New York and the NYPD properly to select, train, supervise, investigate, promote and

discipline police and correction officers and supervisory officers.

       67.       The failure of the City of New York and the NYPD properly to select, train,

supervise, investigate, promote and discipline police and correction officers and supervisory

officers constitutes gross and deliberate indifference to unconstitutional conduct by those officers.

       68.       The official policies, practices and customs of the City of New York and the

NYPD alleged herein violated plaintiff's rights guaranteed by 42 U.S.C. § 1983, including, but not

limited to those protected by the Fourth and Fourteenth Amendments to the Constitution of the

United States.

       69.       In this case, the City was on notice that Lt. Valad had falsified records and directed

others to do the same in order to downgrade reported crimes and that the NYPD Assistant

Deputy Commissioner for Trials had rejected Valad’s testimony as not credible. Yet Valad was left

on the street where he had supervisory authority over Hinton and Brennan. Put simply, the City

left a supervisor who had been found incredible and untruthful in a position where he was

supervising and mentoring younger officers, which effectively ratified his prior misconduct and

informed him that the NYPD was not troubled by dishonesty or outright lying by its officers.

                 67.    All of the acts and omissions by the individual defendants described above

were carried out pursuant to overlapping policies and practices of the municipal defendant in their

capacities as police officers and officials pursuant to customs, policies, usages, practices,

procedures, and rules of the City and the NYPD, all under the supervision of ranking officers of

the NYPD.


                                                   10
        Case 1:24-cv-02106-NRB            Document 1        Filed 03/20/24       Page 11 of 12




                68.     Therefore the municipal defendant has not only tolerated, but actively

fostered a lawless atmosphere within the NYPD and that the City of New York was deliberately

indifferent to the risk that the inadequate level of supervision would lead to the violation of

individuals' constitutional rights in general, and caused the violation of the plaintiff's rights in

particular.

                69.     By reason thereof, the municipal defendant has violated 42 U.S.C. §1983

and caused plaintiff to suffer emotional and physical injuries, mental anguish, incarceration and the

deprivation of liberty, and the loss of his constitutional rights.

                                 DEMAND FOR A JURY TRIAL

                Pursuant to Fed. R. Civ. P. 38, plaintiff hereby demands a jury trial of all issues

capable of being determined by a jury.



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                                                    11
        Case 1:24-cv-02106-NRB           Document 1        Filed 03/20/24        Page 12 of 12




               WHEREFORE, the plaintiff demands judgment against defendants jointly and

severally as follows:

               i.       actual and punitive damages against each of the individual defendants in an
                        amount to be determined at trial;

               ii.      actual damages against the municipal defendant in an amount to be
                        determined at trial;

               iii.     statutory attorney’s fees pursuant to, inter alia, 42 U.S.C. §1988 and New
                        York common law, disbursements, and costs of the action; and

               iv.      such other relief as the Court deems just and proper.


Dated: New York, New York
       March 20, 2024

                                                       Respectfully submitted,



                                                       ___________________
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                                                  12
